                    Case 4:17-cv-00217-DCB Document 1-1 Filed 05/11/17 Page 1 of 2
                                       UNITED STATES DISTRICT COURT
                                           DISTRICT OF ARIZONA


                                            Civil Cover Sheet
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                            Complaint or Notice of Removal.

                                                                                  Fountain Hills Assisted Living, LLC
                                                                                  ; Skyline Estate Assisted Living,
                                                                                  LLC ; Tucson Medical Supply, LLC
 Plaintiff(s): Gina Bell                                            Defendant(s):
                                                                                  ; Parkers Adult Care, LLC ; Ayse's
                                                                                  Specialized Care, LLC ; Andre
                                                                                  Lampkins ; Ayse Lampkins
County of Residence: Pima                                          County of Residence: Pima
County Where Claim For Relief Arose: Pima                           
 
Plaintiff's Atty(s):                                               Defendant's Atty(s):
Michael Zoldan (Gina Bell )
Zoldan Law Group, PLLC
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II. Basis of Jurisdiction:            3. Federal Question (U.S. not a party)
 
III. Citizenship of Principal
Parties (Diversity Cases Only)
                          Plaintiff:­ N/A
                        Defendant:­ N/A
                                     
IV. Origin :                          1. Original Proceeding
 
V. Nature of Suit:                    710 Fair Labor Standards Act
 
                Case 4:17-cv-00217-DCB Document 1-1 Filed 05/11/17 Page 2 of 2
VI.Cause of Action:               29 U.S.C. § 201­219
                     
VII. Requested in Complaint
                    Class Action: Yes
                 Dollar Demand:
                   Jury Demand: Yes

VIII. This case is not related to another case.

Signature:  Michael Zoldan

        Date:  05/11/2017

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and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

Revised: 01/2014
